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   9                        UNITED STATES DISTRICT COURT
  10                      CENTRAL DISTRICT OF CALIFORNIA
  11                                   WESTERN DIVISION
  12
       DEBORAH ANN HAASE,                     CASE NO. CV 09-4339 ODW (FMOx)
  13   SABINO BRITO, and ERIK and
       TRACY LUNDQUIST, on behalf of
  14   themselves and all others similarly    NOTICE AND STIPULATION FOR
       situated,                              VOLUNTARY DISMISSAL
  15
                         Plaintiffs,
  16
                vs.
  17
       KB HOME, a Delaware corporation;
  18   COUNTRYWIDE FINANCIAL
       CORPORATION, a Delaware
  19   corporation, COUNTRYWIDE
       HOME LOANS, INC., a New York
  20   corporation; COUNTRYWIDE
       MORTGAGE VENTURES, LLC, a
  21   Delaware company;
       COUNTRYWIDE-KB HOME
  22   LOANS, an unincorporated
       association of unknown form;
  23   LANDSAFE, INC., a Delaware
       Corporation; LANDSAFE
  24   APPRAISAL SERVICES, INC., a
       California corporation; and DOES 1
  25   through 10,
  26                     Defendants.
  27
  28
                                                    NOTICE AND STIPULATION FOR VOLUNTARY
       10657072.1                            -1-                                DISMISSAL
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   1         Plaintiffs and Defendants hereby notify this Court that the parties have
   2   settled this action and stipulate to dismiss this action, with prejudice, each side to
   3   bear its own fees and costs, pursuant to Federal Rule of Civil Procedure 41(a).
   4
   5   DATED: May 10, 2010                      MUNGER, TOLLES & OLSON LLP
   6
                                                By:    /s/ Peter C. Renn
   7                                                   Peter C. Renn
   8                                            Attorney for Defendant KB HOME
   9
  10   DATED: May 10, 2010                      BRYAN CAVE LLP
  11
                                                By:    /s/ Brian Recor (with permission)
  12                                                   Brian Recor
  13                                            Attorney for Defendants COUNTRYWIDE
  14                                            FINANCIAL CORPORATION;
                                                COUNTRYWIDE HOME LOANS, INC;
  15                                            COUNTRYWIDE MORTGAGE
                                                VENTURES, LLC; COUNTRYWIDE KB
  16                                            HOME LOANS; LANDSAFE, INC; and
                                                LANDSAFE APPRAISAL SERVICES,
  17                                            INC.

  18
  19   DATED: May 10, 2010                      HAGENS BERMAN SOBOL SHAPIRO
                                                LLP
  20
  21                                            By:    /s/ Thomas Loeser (with permission)
                                                       Thomas E. Loeser
  22                                            Attorney for Plaintiffs DEBORAH ANN
  23                                            HAASE, SABINO BRITO, and ERIK and
                                                TRACY LUNDQUIST
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                                                           NOTICE AND STIPULATION FOR VOLUNTARY
                                                -2-                                    DISMISSAL
                                                         10657072.1
